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                       UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

IN RE: PARAGARD PRODUCTS                           MDL DOCKET NO. 2974
LIABILITY LITIGATION                               1:20-md-02974-LMM
This document relates to:
                                                   Civil Action No. 1:22-cv-00499-LMM
Heather Fox v. Teva Pharmaceuticals, et al

             UNOPPOSED RESPONSE TO ORDER TO SHOW CAUSE

       The above-captioned matter appears on the Court's list of cases to show cause why they

should not be dismissed, as shown by the exhibit to the Order entered on December 30, 2024.

Counsel for Plaintiff has communicated to counsel for Defendants that he believes Plaintiff's

PFS is now complete in accordance with the requests contained therein.

       Accordingly, Plaintiff requests, if acceptable to the Court, for this matter to be removed

from the list of cases to show cause why it should not be dismissed. Defendants have indicated

they do not oppose this request.

       WHEREFORE, without opposition from Defendants, Plaintiff respectfully requests this

matter be removed from the list of cases to show cause why it should not be dismissed.

January 11, 2025

Respectfully submitted,

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